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                                      EXHIBIT B


              (Detailed Description of Expenses Incurred During Fee Period)




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                                                             Murphy King, Professional Corporation
                                                          Expenses for the Period from 7/1/23 - 7/31/23


 Date Incurred                    Vendor                     Amount               Description

i. Copies
                   Internal - Black & White           $                   77.90
                   Internal - Color                   $                   20.00
Total:                                                $                   97.90

iii. Telephone
         7/15/2023 Vast Conference                    $                    2.32
Total:                                                $                    2.32

vi. Delivery Service/Couriers

         7/10/2023 Federal Express                    $                   31.70 Delivery
Total:                                                $                   31.70

ix. Out-of-Town Travel

                   (a) Transportation
         5/11/2023 American Airlines                  $                  518.75 Round trip flight from Nantucket - Philadelphia for H. Murphy for 7/6/23
          6/8/2023 American Airlines                  $                  297.42 Round trip flight from Boston to Philadelphia for H. Murphy for 7/7/23
         6/20/2023 Jet Blue/Expedia                   $                  335.80 Round trip flight from Boston - Philadelphia for C. Condon for 7/6/23
          7/8/2023 Delta Airlines                     $                  268.90 Round trip flight from Boston to Philadelphia for H. Murphy for 7/8/23
         7/12/2023 American Airlines                  $                  457.60 Round trip flight from Boston - Philadelphia for C. Condon for 7/12/23
         7/12/2023 American Airlines                  $                  238.45 Flight from Philadelphia for C. Condon on 7/13/23
         7/12/2023 American Airlines                  $                  238.45 Flight from Philadelphia for H. Murphy on 7/13/23
Total:                                                $                2,355.37

                   (b) Hotel

         6/18/2023 Hotel du Pont                      $                  553.30 Hotel for 7/6 -7/7/23 for H. Murphy
         6/18/2023 Hotel du Pont                      $                  553.30 Hotel for 7/6 -7/7/23 for C. Condon
          7/9/2023 Marriott Philadelphia              $                  356.23 Hotel for 7/8/23 for H. Murphy
         7/12/2023 Hotel du Pont                      $                  641.90 Hotel for 7/12-7/13/23 for C. Condon
         7/12/2023 Hotel du Pont                      $                  693.90 Hotel for 7/12-13/23 for H. Murphy
Total:                                                $                2,798.63

                   (c) Meals

          7/7/2023 Sky Asian Bistro                   $                   54.17 Meal for C. Condon on 7/7/23
          7/8/2023 Jim's Steaks                       $                   21.30 Meal for H. Murphy on 7/8/23
         7/12/2023 Independence Prime                 $                   90.25 Meals for C. Condon and H. Murphy on 7/12/23
         7/12/2023 Mezzogiorno                        $                   14.78 Meal for C. Condon and H. Murphy on 7/12/23
Total:                                                $                  180.50

                   (d) Ground Transportation

          7/6/2023 Verifone Transportation            $                  117.26 Car service on 7/6/23
          7/6/2023 Uber                               $                  107.05 Car service on 7/6/23
          7/7/2023 Uber                               $                  101.47 car service on 7/7/23
          7/2/2023 Creative Mobile                    $                   26.90 Car service on 7/8/23
         7/11/2023 Boston Coach                       $                  137.56 Car service to airport on 7/12/23
         7/12/2023 Uber                               $                   90.05 car service on 7/12/23
         7/12/2023 Verifone Transportation            $                   74.38 Car service on 7/12/23
         7/13/2023 Uber                               $                  146.14 Car service on 7/13/23
Total:                                                $                  800.81

EXPENSE TOTAL:                                        $                6,267.23
